          Case 1:19-cv-09014-LLS Document 47 Filed 10/14/20 Page 1 of 10




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ACL1 INVESTMENTS LTD., ACL2                :
INVESTMENTS LTD., LDO (CAYMAN) XVIII       :
LTD.,                                      :
                                           :
                                           : No. 19 Civ. 9014 (LLS)
            Plaintiffs,                    :
                                           : FIRST AMENDED COMPLAINT
      v.                                   :
                                           :
BOLIVARIAN REPUBLIC OF VENEZUELA,          :
                                           :
            Defendant.                     :
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       Plaintiffs ACL1 Investments Ltd., ACL2 Investments Ltd., and LDO (Cayman) XVIII

Ltd., by and through their undersigned attorneys, allege, upon personal knowledge as to their own

acts and upon information and belief as to all other acts, as follows:

                                  NATURE OF THE ACTION

     1.        Plaintiffs are the beneficial owners of certain 9.375% Global Bonds due 2034, ISIN

No. US922646BL74 (the “Securities”), issued by Defendant the Bolivarian Republic of Venezuela

(“Venezuela”). Venezuela issued the Securities pursuant to a Fiscal Agency Agreement dated as

of August 6, 1998, (the “1998 FAA”) and amended as of January 14, 2004 (the “First 2004

Amendment”), and further amended as of September 29, 2004 (the “Second 2004 Amendment”)

(collectively, the “FAA”). A copy of the 1998 FAA is attached to this Complaint as Exhibit A; a

copy of the First 2004 Amendment is attached as Exhibit B; a copy of the Second 2004

Amendment is attached as Exhibit C. Certain terms and conditions of the Securities are set forth

in the Registered Global Security, which is attached to this Complaint as Exhibit D.

     2.        As set forth below, Venezuela has failed to make payments due on the Securities.

It has missed multiple interest payments due since January 2018, leading holders of the requisite
           Case 1:19-cv-09014-LLS Document 47 Filed 10/14/20 Page 2 of 10




quantum of the Securities to exercise their right of acceleration pursuant to the terms of the FAA

and the Registered Global Security. As a result, all principal and unpaid interest owed on the

Securities is due and payable immediately, and those amounts continue to grow as Venezuela

persists in its default. By this action, Plaintiffs seek money judgments for the amounts owed.

                                           THE PARTIES

      3.        Plaintiff ACL1 Investments Ltd. is an exempted company with limited liability

organized under the laws of the Cayman Islands. It is the beneficial owner of a substantial amount

of the Securities. It has been authorized to take any action that a holder is entitled to take under the

terms of the Securities or the FAA.

      4.        Plaintiff ACL2 Investments Ltd. is an exempted company with limited liability

organized under the laws of the Cayman Islands. It is the beneficial owner of a substantial amount

of the Securities. It has been authorized to take any action that a holder is entitled to take under the

terms of the Securities or the FAA.

      5.        Plaintiff LDO (Cayman) XVIII Ltd. is an exempted company with limited liability

organized under the laws of the Cayman Islands. It is the beneficial owner of a substantial amount

of the Securities. It has been authorized to take any action that a holder is entitled to take under the

terms of the Securities or the FAA.

      6.        Defendant Venezuela is a foreign state as defined in Section 1603(a) of the Foreign

Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1603(a).

                                  JURISDICTION AND VENUE

      7.        The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1330 and 28 U.S.C. § 1605. Section 1330(a) grants federal district courts “original jurisdiction

without regard to amount in controversy of any nonjury civil action against a foreign state as

defined in section 1603(a) of this title as to any claim for relief in personam with respect to which

                                                   2
          Case 1:19-cv-09014-LLS Document 47 Filed 10/14/20 Page 3 of 10




the foreign state is not entitled to immunity under either sections 1605-1607 of this title or under

any applicable international agreement.”

     8.        As noted above, Venezuela is a foreign state as defined in 28 U.S.C. § 1603(a).

     9.        Venezuela is not entitled to immunity under 28 U.S.C. §§ 1605-1607. To the

contrary, Section 1605(a) provides, in relevant part, that “[a] foreign state shall not be immune

from the jurisdiction of courts of the United States or of the States in any case—(1) in which the

foreign state has waived its immunity either explicitly or by implication.” Venezuela agreed in the

FAA not to claim, and “irrevocably” waived, sovereign immunity with respect to “any suit, action

or proceeding against it or its properties, assets or revenues with respect to this Agreement, any

Security or a coupon appertaining thereto (a ‘Related Proceeding’).” The waiver appears in Section

14(d) of the 1998 FAA, which states in full as follows (emphasis added):

     To the extent that the Issuer or any of its revenues, assets or properties shall be entitled,
     with respect to any Related Proceeding at any time brought against the Issuer or any of
     its revenues, assets or properties in any jurisdiction in which any Specified Court is
     located, or with respect to any suit, action or proceeding at any time brought solely for
     the purpose of enforcing or executing any Related Judgment in any jurisdiction in
     which any Specified Court or Other Court is located, to any immunity from suit, from
     the jurisdiction of any such court, from attachment prior to judgment, from attachment
     in aid of execution of judgment, from execution of a judgment or from any other legal
     or judicial process or remedy, and to the extent that in any such jurisdiction there shall
     be attributed such an immunity, the Issuer irrevocably agrees not to claim and
     irrevocably waives such immunity to the fullest extent permitted by the laws of such
     jurisdiction (including, without limitation, the Foreign Sovereign Immunities Act of
     1976 of the United States) and consents generally for the purposes of the State
     Immunity Act of 1978 of the United Kingdom to the giving of any relief or the issue
     of any process in connection with any Related Proceeding or Related Judgment,
     provided that such agreement and waiver, insofar as it relates to any jurisdiction other
     than a jurisdiction in which a Specified Court is located, is given solely for the purpose
     of enabling the Fiscal Agent, any Paying Agent or any holder to enforce or execute a
     Related Judgment. In addition, to the extent that the Issuer or any of its revenues, assets
     or properties shall be entitled, in any jurisdiction, to any immunity from set-off,
     banker’s lien or any similar right or remedy, and to the extent that there shall be
     attributed, in any jurisdiction, such an immunity, the Issuer hereby irrevocably agrees
     not to claim and irrevocably waives such immunity to the fullest extent permitted by
     the laws of such jurisdiction with respect to any claim, suit, action, proceeding, right

                                                  3
            Case 1:19-cv-09014-LLS Document 47 Filed 10/14/20 Page 4 of 10




      or remedy arising out of or in connection with this Agreement, any Security or a coupon
      appertaining thereto.

      10.       In addition, Section 1605(a)(2) of the FSIA states that a foreign state is not immune

in a case “in which the action is based upon a commercial activity carried on in the United States

by the foreign state; or upon an act performed in the United States in connection with a commercial

activity of the foreign state elsewhere; or upon an act outside the territory of the United States in

connection with a commercial activity of the foreign state elsewhere and that act causes a direct

effect in the United States.” This action is based upon such commercial activity. Venezuela

marketed the Securities in the United States, offered the Securities for sale in the United States,

allows the Securities to be traded within the United States, invoked the jurisdiction of the courts

and laws of the United States to induce investors to buy and hold the Securities, and has directed

the actions of its Fiscal Agent located within the United States regarding the Securities. These and

other actions have occurred within the United States and have caused direct effects in the United

States, including but not limited to damages incurred by Plaintiffs and other investors located in

the United States.

      11.       Venezuela is not entitled to immunity under any provision set forth in 28 U.S.C. §§

1605-1607 or under any applicable international agreement. This Court therefore has subject

matter jurisdiction under 28 U.S.C. § 1330(a).

      12.       The Court has personal jurisdiction over Venezuela. In the FAA, Venezuela agreed

that any Related Proceeding could be brought in certain specified courts including “the United

States District Court for the Southern District of New York,” and Venezuela “irrevocably

submit[ted] to the exclusive jurisdiction” of these courts for such proceedings. 1998 FAA, sec.

14(a). In addition, “[p]ersonal jurisdiction over a foreign state shall exist as to every claim for relief

over which the district courts have jurisdiction under subsection (a) where service has been made


                                                    4
            Case 1:19-cv-09014-LLS Document 47 Filed 10/14/20 Page 5 of 10




under section 1608 of this title.” 28 U.S.C. § 1330(b). On October 21, 2019, this Court issued an

order directing Plaintiffs to effect service by means of the U.S. Secretary of State pursuant to 28

U.S.C. § 1608(a)(4). ECF No. 11. The United States Department of State certified on February 3,

2020, that on January 31, 2020, it had served a diplomatic note on Venezuela to effectuate service.

ECF No. 26.

      13.       Venue is proper in this district under 28 U.S.C. § 1391(f)(1). “[A] substantial part

of the events or omissions giving rise to [this] claim occurred” in this judicial district. Among other

things, Venezuela has made and breached promises to investors in this district, has availed itself

of the jurisdiction of this district to induce investors to purchase and hold the Securities, and has

failed to make payments in this district as required by the securities. Moreover, in the FAA,

Venezuela “irrevocably consent[ed] to and waive[d] any objection which it may now or hereafter

have to the laying of venue” for a Related Proceeding brought in a specified court, as described

above. 1998 FAA, sec. 14(c).

                                               FACTS

      14.       Each Plaintiff is the beneficial owner of a substantial amount of the Securities.

      15.       The Securities provide that Venezuela shall pay the principal sum owed on the

Securities on January 13, 2034. Registered Global Security at 2. The Securities also provide that

Venezuela shall pay interest on the principal sum on a semi-annual basis beginning on January 14,

2004, at the rate of 9.375% per annum, until the principal is paid or made available for payment.

Id.

      16.       The terms and conditions of the Securities provide that an “Event of Default” occurs

if, among other things, “Venezuela shall fail to pay the principal amount of any Security when due

and such failure continues for a period of 30 days” or if “Venezuela shall fail to pay interest or



                                                  5
             Case 1:19-cv-09014-LLS Document 47 Filed 10/14/20 Page 6 of 10




other amounts due on any Security when due and such failure continues for a period of 30 days.”

Registered Global Security, Terms and Conditions, sec. 7(a)-(b).

       17.       The terms and conditions of the Securities further provide that if an Event of

Default “shall occur and be continuing with respect to Securities,” then “holders of 25% or more

in aggregate outstanding principal amount of the Securities may, by written demand to Venezuela

at the office of the Fiscal Agent, declare the Securities immediately due and payable.” Registered

Global Security, Terms and Conditions, sec. 7.

       18.       Beginning in early 2018, Venezuela stopped making interest payments due on the

Securities. More particularly, Venezuela failed to make the interest payment due on January 13,

2018. That failure continued for a period of more than 30 days; indeed, this amount remains unpaid

today. This failure to pay interest was an Event of Default under the Securities. See Registered

Global Security, Terms and Conditions, sec. 7(b).

       19.       Venezuela also failed to make an interest payment due on July 13, 2018. That

failure likewise continued for a period of more than 30 days and continues today. This failure to

pay interest was another Event of Default. See Registered Global Security, Terms and Conditions,

sec. 7(b).

       20.       On December 6, 2018, the Securities were accelerated. Pursuant to section 7 of the

Terms and Conditions of the Registered Global Security, holders of greater than 25% of the

outstanding principal amount of the series filed a written demand with The Bank of New York

Mellon (“BNYM”), the Fiscal Agent for the Securities, declaring the Securities immediately due

and payable. BNYM is the successor Fiscal Agent to the original Fiscal Agent identified under the

FAA.




                                                 6
           Case 1:19-cv-09014-LLS Document 47 Filed 10/14/20 Page 7 of 10




     21.       The acceleration was effected in full compliance with all relevant terms and

conditions set forth in the FAA and the Registered Global Security. The holders who accelerated

the Securities were fully and duly authorized to do so. Accordingly, the full amount of all unpaid

principal and interest became and remains immediately due and payable. Moreover, these unpaid

amounts continue to accrue interest as set forth in the FAA, the Registered Global Security, and

as provided by law.

     22.       Venezuela’s failure to pay the full amount of unpaid principal following

acceleration on December 6, 2018 continued for a period of more than 30 days and continues

today. This failure to pay principal is another Event of Default. See Registered Global Security,

Terms and Conditions, sec. 7(a).

     23.       Since the Securities were accelerated, Venezuela has failed to make four additional

interest payments due on January 13, 2019; July 13, 2019; January 13, 2020; and July 13, 2020.

These failures each continued for a period of more than 30 days and these amounts remain unpaid

today. These failures to pay interest are each an Event of Default under the Securities. See

Registered Global Security, Terms and Conditions, sec. 7(b).

     24.       To date, Venezuela has not paid the principal amount or the outstanding interest

due on the Securities.

     25.       Plaintiffs are aware of the ongoing economic and political instability in Venezuela.

This instability, however, has not prevented other creditors from pursuing remedies. Notably, the

Third Circuit confirmed Crystallex International Corporation’s right to collect on an arbitral award

against Venezuela by seizing shares of Citgo’s parent company. These regrettable circumstances,

combined with Venezuela’s continued refusal to pay, constrain Plaintiffs to bring the present




                                                 7
           Case 1:19-cv-09014-LLS Document 47 Filed 10/14/20 Page 8 of 10




action to preserve their rights as beneficial owners of Securities. As investors in Venezuela,

Plaintiffs are vitally interested in the nation’s future and desire to work with its many stakeholders.

                                      CAUSE OF ACTION
                             (Breach of Contract – Money Judgment)

     26.       Plaintiffs repeat and reallege the allegations set forth in paragraphs 1 through 25.

     27.       Venezuela made contractual commitments under the FAA and the Registered

Global Security, to which Plaintiffs are beneficiaries and/or parties as the beneficial owners of the

Securities. By their express terms, the Securities are governed by New York law. See Registered

Global Security, Terms and Conditions, sec. 12.

     28.       Plaintiffs have complied in full with any and all obligations imposed on them by

the terms and conditions of the FAA and the Registered Global Security.

     29.       Since January 13, 2018, Venezuela has failed to make six semi-annual interest

payments to Plaintiffs as contractually required. These failures have continued for more than 30

days, and accordingly constitute Events of Default.

     30.       The principal amount owed on the Securities became due and payable in its entirety

on or about December 6, 2018. Venezuela has failed to pay the principal amount of the Securities.

As this failure has continued for more than 30 days, this failure to pay constitutes an additional

Event of Default.

     31.       Plaintiffs are the beneficial owners of substantial amounts of the Securities and are

therefore entitled by contract to the payments that Venezuela has failed to make. Venezuela has

breached its contractual obligations to Plaintiffs by failing to make payment when due.

     32.       Plaintiffs have suffered monetary damages as a result of Venezuela’s breach of

these payment obligations.




                                                  8
            Case 1:19-cv-09014-LLS Document 47 Filed 10/14/20 Page 9 of 10




     33.          Plaintiffs are fully and duly authorized to bring this action as beneficial owners of

the Securities.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request entry of judgment against Venezuela as follows:

       a.         A monetary judgment in the amount of the aggregate principal amount of the

outstanding Securities held by Plaintiffs plus all accrued and unpaid interest through the date of

judgment, including but not limited to interest on unpaid principal, interest on unpaid interest, and

all other amounts due and owing up to and including the date of judgment;

       b.         Post-judgment interest on the unpaid amounts between the date of judgment and

date of collection; and

       c.         Such other further relief as the Court deems just and proper.


 Dated: October 14, 2020                        Respectfully submitted,

                                                ROBBINS, RUSSELL, ENGLERT, ORSECK,
                                                UNTEREINER & SAUBER LLP

                                                By:       s/ Joshua S. Bolian

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                                                      9
        Case 1:19-cv-09014-LLS Document 47 Filed 10/14/20 Page 10 of 10




                               CERTIFICATE OF SERVICE

       I hereby certify on this 14th day of October, 2020, a copy of the foregoing was served

electronically via CM/ECF on all counsel of record.




                                               s/ Joshua S. Bolian

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